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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

In re:                                                     Chapter 11

Mattress Firm, Inc., et al.,1                              Case No.: 18-12241 (CSS)

                    Debtors.                               (Jointly Administered)
                                                           Re: Docket Nos. 659 & 776

 MID-AMERICA ASSET MANAGEMENT, INC.’S, AS AGENT OF JJS CHAMPAIGN INV
LLC, DBA 901 W ANTHONY JOINDER TO 1) OBJECTION OF CERTAIN LANDLORDS AS
 MORE FULLY SET FORTH IN THE ATTACHED SCHEDULE A TO NOTICE OF CURE
 AMOUNTS RELATING TO UNEXPIRED LEASES THAT THE DEBTORS MAY ASSUME
     PURSUANT TO THE PLAN (DOC. NO. 659); AND 2) LIMITED OBJECTION OF
LANDLORDS AS MORE FULLY SET FORTH IN THE ATTACHED SCHEDULE A TO THE
 JOINT PREPACKAGED CHAPTER 11 PLAN OF REORGANIZATION FOR MATTRESS
             FIRM, INC. AND ITS DEBTOR AFFILIATES (DOC. NO. 776)

         Mid-America Asset Management, Inc., as agent of JJS Champaign Inv LLC (“Landlord”), by

and through its undersigned counsel, hereby submits this joinder (“Joinder”) to the Objection of

Certain Landlords as More Fully Set Forth in the Attached Schedule a to Notice of Cure Amounts

Relating to Unexpired Leases that the Debtors May Assume Pursuant to the Plan (Doc. No. 659); and

2) Limited Objection of Landlords as More Fully Set Forth in the Attached Schedule A to the Joint

Prepackaged Chapter 11 Plan of Reorganization for Mattress Firm, Inc. and its Debtor Affiliates

(Doc. No. 776). In support of this Joinder, Landlord respectfully states as follows:

         1.      Landlord is the owner of certain real property located at 901 W. Anthony Dr., Suite 1,

Champaign, Illinois (the “Property”), which it leases to debtor Mattress Firm, Inc. (the “Debtor”)

pursuant to a pre-petition lease dated September 9, 2011, as amended, (the “Lease”). The Lease expires

by its terms on November 30, 2022.

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  The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing address is
10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11 cases, for which the
Debtors have requested joint administration, a complete list of the Debtors and the last four digits of their federal tax
identification numbers is not provided herein. This information may be obtained on the website of the Debtors’ noticing
and claims agent at http://dm.epiq.com/MattressFirm or by contacting counsel for the Debtors.
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       2.      Debtor filed a voluntary petition for relief under chapter 11 of Title 11 of the United

States Code §§ 101 et seq. (the “Bankruptcy Code”) on October 5, 2018 (the “Petition Date”) in the

United States Bankruptcy Court for the District of Delaware (the “Court”). Debtors continue to operate

their businesses and manage their properties as debtors-in-possession pursuant to 1107(a) and 1108 of

the Bankruptcy Code. No party has requested the appointment of a trustee or examiner in these cases,

and no statutory committee has been appointed.

                                                JOINDER

       3.      Landlord joins the objections filed by Debtors’ other landlords to the extent they

supplement and are not otherwise inconsistent with this Joinder or Landlord’s interests. In particular,

Landlord specifically joins and incorporates the arguments set forth in the objections filed at Doc. Nos.

659 and 776.

               OBJECTION TO THE DEBTORS’ PROPOSED CURE AMOUNTS

       4.      The Landlord’s cure, as compared to the Debtor’s cure, is set forth in the table below. A

true and accurate copy of the Debtor’s statement of account is attached as hereto as Exhibit 1, and is

incorporated herein by reference.

Store No.                Address                      City, State    Landlord’s Cure      Debtors’ Cure

 068002            901 W. Anthony Dr.             Champaign, IL         $14,490.93          $13,373.14


                                     RESERVATION OF RIGHTS

       5.      Landlord expressly reserves all applicable rights under the Lease with respect to any

and all obligations of the Debtor. The Landlord further reserves all rights to raise further objections, as

necessary or appropriate under the circumstances, including to join in all objections of other landlords,

to the extent not inconsistent with this objection.

       WHEREFORE, Mid-America Asset Management, Inc., as agent of JJS Champaign Inv LLC,




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respectfully requests that any order that provides for the assumption of the Leases (i) allow the cure

amounts (subject to adjustment by the Landlord) in the amounts set forth herein, (ii) order payment of

all undisputed cure amounts, with an escrow established that is sufficient to pay any remaining

disputed cure amounts, when resolved by the parties or this Court, and (iii) grant such further relief as

the Court deems proper, and requests that the Court not approve the Plan unless and until the Debtors

amend the Plan consistent with this Objection, including the modifications requested herein, and grant

such further relief as the Court deems proper.


Dated: November 13, 2018                               /s/ Leslie C. Heilman
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